                                IN THE UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF ARKANSAS
                                           CENTRAL DIVISION


IN RE:      DAVID STANLEY SMITH,                                                              Case No.: 4:19-bk-14454 B
            Debtor                                                                                            Chapter 13

                                        TRUSTEE'S MOTION TO DISMISS

    Joyce Bradley Babin, Chapter 13 Standing Trustee, for her Motion to Dismiss, states:

    1. An Order was entered on January 27, 2020 requiring the debtor to file a modification to the plan within 21 days .

    2. A modified plan has not been filed, and the Debtor has not requested an extension of time within which to make

such modification.

    WHEREFORE, the Trustee prays for an order dismissing this case, and for all other just, proper, and equitable

relief.




                                                                                 /s/ Joyce Bradley Babin
                                                                                  Joyce Bradley Babin
                                                                               Chapter 13 Standing Trustee

                                            CERTIFICATE OF SERVICE

   The undersigned certifies that a copy of the foregoing document was served on the Debtor's attorney and any other
ECF Filing Users through Notice of Electronic Filing (ECF) and on the Debtor and any other non-ECF Filing Users by
U.S. Mail, postage prepaid, as further listed below, on February 27, 2020.

                                                                                 /s/ Joyce Bradley Babin
                                                                                   Joyce Bradley Babin

David Stanley Smith
5709 North Hills Blvd
North Little Rock, AR 72116




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